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  IT IS ORDERED as set forth below:



  Date: May 16, 2022
                                                          _____________________________________
                                                                     Lisa Ritchey Craig
                                                                U.S. Bankruptcy Court Judge

 _______________________________________________________________


                           UNITED STATES BANKRUPTCY COURT
                            NORTHERN DISTRICT OF GEORGIA
                                   ATLANTA DIVISION


IN RE:                                          :          CASE NO. 21-54965-LRC
                                                :
MICHAEL SCOT FLECK,                             :          CHAPTER 7
                                                :
         Debtor.                                :
                                                :

     ORDER AUTHORIZING SETTLEMENT BETWEEN TRUSTEE AND FIGURE
             LENDING LLC UNDER RULE 9019 OF THE FEDERAL
                  RULES OF BANKRUPTCY PROCEDURE

         On April 18, 2022, S. Gregory Hays, as Chapter 7 Trustee (“Trustee”) for the bankruptcy

estate (the “Bankruptcy Estate”) of Michael Scot Fleck (“Debtor”), filed a Motion for Order

Authorizing Settlement between Trustee and Figure Lending LLC under Rule 9019 of the

Federal Rules of Bankruptcy Procedure [Doc. No. 25] (the “Motion”) and related papers with

the Court, seeking an order, among other things, approving a settlement agreement (the

“Settlement Agreement”) between Trustee and Figure Lending LLC (“Figure” and with

Trustee, the “Parties”) related to the Debtor’s former interest in certain improved real property

with a common address of 819 Durant PL, NE, #8, Atlanta, Georgia (the “Property”) and the


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alleged security interest of Figure in the same.      More specifically, under the terms of the

Settlement Agreement, inter alia,1 within 10 days of the Settlement Approval Order2 becoming a

final order, Figure shall pay to Trustee $67,500.00 in good funds (the “Settlement Funds”) in

one lump sum payment by delivering an official check to Trustee in the amount of $67,500.00.

Also, the Parties stipulate and agree that effective upon Trustee’s receipt of the $67,500.00

Settlement Funds from Figure, Figure shall have a non-priority, timely filed, general unsecured

claim in the amount of $67,500.00 in the Bankruptcy Case against the Bankruptcy Estate.

Moreover, Trustee and the Bankruptcy Estate, on the one hand, and Figure, on the other hand,

grant broad releases to one another. Finally, within ten (10) business days of the later of: (a) the

Settlement Approval Order becoming a final order, or (b) Trustee’s receiving the Settlement

Funds from Figure, Trustee and Figure shall file a stipulation, or other necessary paper, seeking

dismissal with prejudice of the claims that Trustee has raised against Figure in the adversary

proceeding styled as Hays v. Figure Lending, LLC, et al. (Adv. Pro. No. 21-5150-LRC). The

exact terms of the Settlement Agreement are set forth on Exhibit “A” to the Motion.

         On April 19, 2022, Trustee filed a Notice of Motion for Order Authorizing Settlement

between Trustee and Figure Lending LLC under Rule 9019 of the Federal Rules of Bankruptcy

Procedure; Deadline to Object; and for Hearing [Doc. No. 26] (the “Notice”) regarding the

Motion, in accordance with the Second Amended and Restated General Order No. 24-2018, and




1
       The following is a summary of the Settlement Agreement and is not intended to be
comprehensive. To the extent that anything in this summary is contrary to the terms of the
Settlement Agreement, the Settlement Agreement controls.
2
        Capitalized terms not defined in this Order shall have the meanings ascribed to them in
the Settlement Agreement.


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setting a hearing on the Motion for May 18, 2022 (the “Hearing”). Counsel for Trustee certifies

that he served the Notice on all requisite parties in interest on April 19, 2022. [Doc. No. 27].

         No objection to the relief requested in the Motion was filed prior to the objection

deadline provided in the Notice and pursuant to the Second Amended and Restated General

Order No. 24-2018.

         The Court having considered the Motion and all other matters of record, including the

lack of objection to the relief requested in the Motion, and, based on the forgoing, finding that no

further notice or hearing is necessary; and, the Court having found that good cause exists to grant

the relief requested in the Motion, it is hereby

         ORDERED that the Motion is GRANTED: the Settlement Agreement is approved and

its terms are incorporated into this Order. It is further

         ORDERED that Trustee may take any other actions necessary to satisfy the terms of the

Settlement Agreement. It is further

         ORDERED that this Court retains jurisdiction to (i) interpret, implement, and enforce

this Order, (ii) resolve any disputes regarding or concerning the Settlement Agreement, and (iii)

enter such other and further orders as may be necessary, just, or proper as an aid to enforcement

or implementation of this Order.

                                      [END OF DOCUMENT]




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Order prepared and presented by:

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